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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

GIOVANI DEPIANTI, et al.,           )
     Plaintiffs,                    )
                                    )
           v.                       )        Civ. A. No. 08-10663-MLW
                                    )
JAN-PRO FRANCHISING                 )
INTERNATIONAL, INC.,                )
     Defendant.                     )

                         MEMORANDUM AND ORDER
                     CONCERNING SUMMARY JUDGMENT

WOLF, D.J.                                               August 22, 2014


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I.     OVERVIEW

       This is a putative class action against defendant Jan-Pro

Franchising International, Inc. ("JPI"). JPI sits at the top of

a    three-tiered       system    of    cleaning      franchises.        It   sells   the

rights      to    use     the     "Jan-Pro"       name      to    "regional      master

franchisees." These regional master franchisees sell the rights

to    use   the   Jan-Pro       name    to    "unit   franchisees,"       who   perform

cleaning services for customers. The regional master franchisees

also solicit business for the unit franchisees and manage the

process of billing the customers.

       The named plaintiffs are seven unit franchisees from four

states.     The     six-count         Amended     Complaint       (the    "Complaint")

claims,     in    essence,       that        plaintiffs     and    others     similarly

situated     were       misled     into       entering     into    agreements         that

improperly classified them as independent contractors when, as a

matter of law, they were employees. Plaintiffs also allege that

the terms of the agreements they signed were inherently unfair,

and that these terms were systematically breached. Plaintiffs

assert claims of unfair and deceptive business practices (Count

I);    misclassification         as    independent        contractors     (Count      II),

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along      with       related       wage-law        violations         (Count      III);

misrepresentation         (Count    IV);     quantum       meruit    (Count     V);   and

unjust enrichment (Count VI). 1

     The proceedings to date have focused on plaintiff Giovani

Depianti of Somerville, Massachusetts. The court certified three

questions to be answered by the Massachusetts Supreme Judicial

Court    (the     "SJC").   The     SJC   has     issued    its     answers   to   these

questions.       In     addition,    concurrent        proceedings       between        the

parties     in    the    Georgia     state       courts    have     culminated     in    a

decision in JPI's favor.

     JPI moves for summary judgment on all counts. Plaintiffs

move for summary judgment on Count II only, as to Depianti only.

In addition, plaintiffs move to amend their complaint to add new

named plaintiffs to the proceedings. JPI also moves to assert

preclusion defenses that were not identified in its answer to

the Complaint. For the reasons explained in this Memorandum, the

court is deciding these motions as follows.

        The court is allowing JPI's motion to assert a preclusion

defense, in essence because the doctrines concerning preclusion

implement important considerations of comity between competent


     1
          The regional master franchisees were not named as
defendants, apparently because their contracts with the unit
franchisees contain mandatory arbitration clauses. See Exhibit
Compendium Tab 10, ¶16(A) ("BME-Depianti Contract").
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courts.   Conversely,              because       plaintiffs'           motion   to    amend     the

complaint        does       not     implicate         the       same    considerations,         and

because   it      is    unduly          prejudicial        at    this    late   stage     of    the

litigation, this motion is being denied.

     Plaintiffs' motion for summary judgment is being denied,

and JPI's motion for summary judgment is being allowed in part

and denied in part, as follows.

     First, the court is entering summary judgment for JPI on

Counts      II        and         III     of      the       Complaint,          which     allege

misclassification as independent contractors and related wage-

law violations. The Georgia Court of Appeals (the "GCA") has

determined that, as a matter of Massachusetts law, JPI is not

Depianti's       employer.          Under      the      applicable        federal       doctrines

concerning preclusion, the GCA's decision is binding on this

court. Moreover, the court concludes that the GCA's decision is

consistent with Massachusetts law, as explicated by the SJC.

     Counts       I     and       IV     of    the      complaint        allege      unfair     and

deceptive business                practices      under      Massachusetts         General      Laws

Chapter     93A       ("Chapter          93A")       and    misrepresentation.           JPI     is

entitled to summary judgment as to some, but not all, of the

allegations made in these counts. These counts rely on a theory

of vicarious liability, according to which JPI is liable for the

conduct     of         its        regional       master          franchisee       in      eastern

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Massachusetts,      BradleyMktg      Enterprises,          Inc.   ("BME").    Under

Massachusetts law, as developed by the SJC, JPI is liable for

BME's conduct if: (a) that conduct was actionable, and (b) JPI

controlled, or had a right to control, the specific actionable

policy or practice. A reasonable fact finder could find that JPI

has the right to control one practice alleged in the Complaint

-- the contracts that BME makes with its unit franchisees. Count

IV of the Complaint alleges, among other things, that the terms

of these contracts are inherently unfair in a manner actionable

under     Chapter   93A.      This   part   of    Count      IV   is,   therefore,

surviving summary judgment. JPI will, however, be permitted to

argue at a later date that Depianti's surviving 93A claim is

barred by the applicable statute of limitations, as this issue

has not yet been developed sufficiently. Summary judgment is

entering in JPI's favor on the other parts of Count IV and on

all of Count I.

     JPI is also entitled to summary judgment on Count V of the

Complaint, which asserts a claim in quantum meruit. As a matter

of law, this claim can only succeed if Depianti expected to be

remunerated by JPI, and plaintiffs have conceded that Depianti

did not have such an expectation.

     This     element    of    expectation       to   be    remunerated      is   not

required under the cause of action asserted in Count VI of the

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Complaint,        unjust       enrichment.         JPI's      argument     for   summary

judgment on this count is, therefore, not meritorious. However,

since unjust enrichment is an equitable doctrine, JPI will be

permitted to argue at a later date that Depianti is not entitled

to recover under this doctrine because an adequate remedy is

available to him at law.


II.    BACKGROUND

       A.    Facts

       The   following         facts      are   generally     not    disputed.    Factual

disputes are discussed separately below.

       JPI   is     a    Massachusetts          corporation    with     headquarters    in

Alpharetta, Georgia. JPI has trademarked the "Jan-Pro" name, and

it sells the rights to used this name in specified geographic

areas to regional master franchisees.

       The     regional        master       franchisees,        which     are    separate

corporate entities from JPI, acquire the exclusive rights to

sell    unit      franchises         in    their    respective        territories.     JPI

provides each new regional master franchisee with several days

of training. Each regional master franchisee is then provided

with sample marketing materials and with electronic templates

that   may     be       used   for   various       managerial       purposes.    Regional

master franchisees pay JPI a fee for each unit franchise they

sell. They also remit to JPI a percentage of the revenue that
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they    collect      for    the    cleaning        work   performed       by   their      unit

franchisees.

       Regional master franchisees provide their unit franchisees

with some initial training. Thereafter, they perform three basic

services       for    the    unit        franchisees:          they     solicit    cleaning

accounts and offer them to the unit franchisees; they bill the

customers for work performed by the unit franchisees and collect

payment from the customers; and they distribute the revenue to

unit franchisees. JPI does not perform these services.

       The     agreements         between      JPI       and    the     regional     master

franchisees      provide      that       the   regional        master    franchisees       are

independent contractors, not agents or fiduciaries of JPI. JPI

visits its regional master franchisees' offices no more than

annually. Regional master franchisees are responsible for their

own    accounting,     which       JPI    does     not    monitor.      They   may   choose

whether or not to advertise and, except for the requirement that

they use the Jan-Pro logo, the content of any such advertising.

       Unit franchisees may be individuals or corporations. The

agreements between the regional master franchisees and each unit

franchisee, like the agreements between JPI and each regional

master       franchisee,      state       that      the    unit       franchisee     is    an

independent contractor, not an agent or employee of the regional

master franchisee. Unit franchisees control their own marketing

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and bookkeeping. They are permitted to hire employees, and some

do so.

       Every new unit franchisee is guaranteed, in its agreement

with    the    regional     master    franchisee,      a   volume   of    cleaning

accounts worth a specified amount of gross annual billing. The

amount specified varies between unit franchisees, and affects

the price charged for the unit franchise. If the regional master

franchisee fails to provide the required amount of business, the

unit franchisee is entitled to a full or partial refund. The

contracts       between      regional    master       franchisees        and    unit

franchisees permit the regional master franchisees to offer the

unit franchisees business anywhere within the regional master

franchisee's       geographic        region.     However,     regional         master

franchisees sometimes agree to provide the required amount of

business      within    a   more   limited     area   convenient    to    the    unit

franchisee.

       B.     Procedural History

       The    instant   suit   was    brought    on   April   18,   2008.      Eleven

individual plaintiffs were initially named. Plaintiffs Grasielle

Regina Dos Santos, Hyun Ki Kim, Todor Sinapov, and Kyu Jin Roh

have since been dismissed by stipulation.

       The operative Complaint was filed after the court denied

JPI's Motion to Dismiss and Supplemental Motion to Dismiss. See

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Nov. 25, 2008 Order. 2 As described earlier, the Complaint asserts

claims of unfair and deceptive business practices under Chapter

93A,   misclassification         as    independent         contractors         and   related

wage-law      violations,       misrepresentation,              quantum        meruit,    and

unjust enrichment.

       With    the    court's     permission,           the    parties     filed       cross-

motions      for   summary     judgment       before       class    certification         was

addressed.     See    Sept.     15,    2009      Order     ¶2.     JPI    sought     summary

judgment on all claims as to all plaintiffs. Plaintiffs sought

summary      judgment    on    Count    II       with     regard    to    "Massachusetts

plaintiffs," namely Depianti. The motions for summary judgment

revealed that in the parties' view, the law that governs each

claim is the law of the state in which the relevant regional

master     franchisee     is    located.         See    also     Apr.    12,    2010     Joint

Report     (confirming     that    this      is    the     parties'       position).      The

court decided to focus, at first, on Depianti's claims. See Apr.

13, 2010 Order ¶2; Apr. 16, 2010 Tr. at 4.

       The    court     then    certified         three       questions    presented       by

Depianti's case to be answered by the SJC. See Depianti v. Jan-

       2
          The opportunity to file an amended complaint was
granted to plaintiffs in part so that they could "make more
clear what [JPI] has allegedly done through its agents . . . and
what, if anything, it's done independently." Nov. 20, 2008 Tr.
at 8. However, plaintiffs have generally declined to do so in
subsequent submissions, typically using the label "Jan-Pro" to
refer both to JPI and to its regional master franchisees.
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Pro   Franchising        Int'l,     Inc.,     Civ.    A.      No.    08-10663,       2012      WL

3835090 (D. Mass. Aug. 31, 2012) ("Depianti Questions"). The

first question concerned the court's jurisdiction. A plaintiff

asserting      a        claim     of    employee           misclassification              under

Massachusetts law is required by statute, Mass. Gen Laws ch.

149, §150, to file a complaint with the Massachusetts Attorney

General     before       bringing      suit.       Depianti         had    apparently         not

satisfied this requirement. However, the court found that JPI

had   "waived      the     argument      that       Depianti         failed    to       exhaust

administrative          remedies,"     because       the      only        mention   of     this

argument in JPI's submissions was intentionally inconspicuous.

Id.   at    *2-*3.      Accordingly,         the   SJC     was      asked     "[w]hether       a

plaintiff's failure to exhaust administrative remedies . . . by

filing a complaint with the Attorney General deprives a court of

jurisdiction       to    consider      the    plaintiff's           claims."      Id.    at   *3

(Order ¶1(a)).

      The    second       question      certified        by      the      court     concerned

Depianti's claims of misrepresentation and unfair and deceptive

business practices under Chapter 93A. These claims rely on a

theory of vicarious liability, according to which JPI would be

held liable for the acts of its regional master franchisee, BME.

The SJC was asked to explain "[w]hether and how to apply the



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'right      to     control     test'       for       vicarious      liability       to    the

franchisor-franchisee relationship." Id. (Order ¶1(b)).

      The        third     question        concerned          Depianti's      claims          of

misclassification and wage-law violations. Because there is no

direct contractual relationship between JPI and Depianti, the

SJC was asked "[w]hether a defendant may be liable for employee

misclassification . . . where there was no contract for services

between the plaintiff and defendant." Id. (Order ¶1(c)).

      On June 17, 2013, the SJC answered the questions certified

to   it.    See     Depianti    v.    Jan-Pro        Franchising     Int'l,       Inc.,   990

N.E.2d      1054,    1060-62       (Mass.       2013)      ("Depianti     Answers").      The

SJC's answers were as follows. First, a plaintiff's failure to

file a complaint with the Massachusetts Attorney General before

bringing suit does not deprive the court of jurisdiction. Id. at

1060-62. Second, as discussed in detail below, a franchisor is

vicariously liable for the conduct of its franchisee where "the

franchisor        controls     or    has    a    right      to   control    the    specific

policy or practice resulting in harm to the plaintiff." Id. at

1064.      Third,    as    discussed       below      as    well,   the    absence       of    a

contract         between     two     parties         does    not,    itself,       preclude

liability for misclassification. Id. at 1064-69.

      Concurrent to the instant suit, proceedings between JPI and

Depianti have taken place in the Georgia state courts. There,

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JPI   filed     suit    against        Depianti       and    a     unit    franchisee     from

Pennsylvania, Hyun Ki Kim. 3 JPI sought a declarative judgment

that it is not the "employer" of those individuals under the

laws of Massachusetts and Pennsylvania, respectively. Depianti

moved to dismiss for lack of personal jurisdiction. The trial

court denied his motion and issued a certificate of immediate

review. Depianti did not file an interlocutory appeal.

      The Georgia trial court then allowed Depianti's motion for

summary judgment. JPI appealed, and the GCA reversed, finding

that,     under    Massachusetts         General       Laws        ch.    149,   §148B     (the

"Misclassification        Statute"),        JPI       is    not     Depianti's      employer.

See Jan-Pro Franchising Int'l, Inc. v. Depianti, 712 S.E.2d 648

(Ga. Ct. App. 2011) ("Depianti Georgia"). Depianti petitioned

the   Supreme     Court   of     Georgia       (the        "SCG")    for    certiorari.     At

first,    the     SCG   stayed    its     decision.          See    Pls.'    Jan.    3,    2012

Notice of Suppl. Authority Ex. A. On July 9, 2013, after the SJC

had answered the questions that had been certified to it by this

court, Depianti's petition for certiorari was denied.

      After       the   SJC      and     the        Georgia        courts    issued       their

respective decisions, this court permitted the parties to file

supplemental briefing, including a reply and a sur-reply. See

      3
         Kim was initially a named plaintiff in the instant
case, but the parties have stipulated to the dismissal of his
claims.
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Sept. 4, 2013 Order. When briefing was complete, on December 6,

2013, the court held a status conference to discuss the pending

motions and how this case should proceed. The parties confirmed

that    their      cross-motions         for    summary       judgment     are    ripe   for

decision, as are motions by both parties, discussed below, to

amend or supplement their pleadings.


III. MOTIONS TO AMEND AND SUPPLEMENT THE PLEADINGS

       A.    Plaintiffs' Motion to Amend the Complaint

       Plaintiffs move to file a Second Amended Complaint. By this

motion      (the    "Motion        to     Amend"),          plaintiffs     seek    to    add

additional      unit   franchisees          from      Massachusetts        as    new    named

plaintiffs.

       The Motion to Amend was initially motivated by plaintiffs'

concern that Depianti's misclassification claim would be barred

because he had failed to file a complaint with the Massachusetts

Attorney General before bringing suit. See Mot. to Amend Compl.

¶¶4-5. The SJC has since allayed this concern by finding, in

response to the first question certified to it by this court,

that failure to file a complaint with the Massachusetts Attorney

General is not jurisdictional. See Depianti Answers, 990 N.E.2d

at   1060-62.       However,   plaintiffs             now    wish    to   make    the    same

proposed      amendment       in        order    to     avoid       the   preclusion      of


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Depianti's claim by the decisions of the Georgia courts. See

Pls.' Oct. 8, 2013 Reply Suppl. at 3 & n.2.

     JPI opposes the Motion to Amend. It argues, among other

things, that the proposed addition of new plaintiffs "at this

stage in the case -- where discovery is completed, the merits

are ripe for ruling, and plaintiffs had years of notice as to

JPI's affirmative defenses -- is far too prejudicial to JPI and

far too late." JPI's Opp'n to Pl.'s Mot. to Amend at 3; JPI's

Oct. 22, 2013 Sur-Reply Suppl. Submission at 7.

     The    general   rule   is   that    amendment   should   be   allowed

"[u]nless there appears to be an adequate reason (e.g., undue

delay,     bad   faith,   dilatory   motive,   futility   of    amendment,

prejudice)." Mirpuri v. ACT Mfg., Inc., 212 F.3d 624, 628 (1st

Cir. 2000) (quoting Glassman v. Computervision Corp., 90 F.3d

617, 622 (1st Cir. 1996)). The First Circuit has explained that:

     As a case progresses . . . the burden on a plaintiff
     seeking to amend a complaint becomes more exacting.
     Scheduling orders, for example, typically establish a
     cut-off date for amendments . . . . Once a scheduling
     order is in place, the liberal default rule is
     replaced by the more demanding "good cause" standard
     of Fed. R. Civ. P. 16(b). . . . Where the motion to
     amend is filed after the opposing party has timely
     moved for summary judgment, a plaintiff is required to
     show "substantial and convincing evidence" to justify
     a belated attempt to amend a complaint. . . .
     [T]he longer a plaintiff delays, the more likely the
     motion to amend will be denied, as protracted delay,
     with its attendant burdens on the opponent and the
     court, is itself a sufficient reason for the court to
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      withhold permission to amend. Particularly disfavored
      are motions to amend whose timing prejudices the
      opposing party by "requiring a re-opening of discovery
      with additional costs, a significant postponement of
      the trial, and a likely major alteration in trial
      tactics and strategy."

Steir v. Girl Scouts of the USA, 383 F.3d 7, 12 (1st Cir. 2004)

(citations omitted); see also In re Sonus Networks, Inc. Sec.

Litig., 229 F.R.D. 339 (D. Mass. 2005).

      In    this   case,     a    Scheduling    Order    was    issued,    which

established December 12, 2008 as the deadline for any motions to

amend the pleadings. See Nov. 21, 2008 Order ¶2. The deadline

for the completion of all discovery was September 15, 2009, and

all fact discovery was to be completed by June 26, 2009. See

Apr. 17, 2009 Electronic Order; May 22, 2009 Electronic Order.

      The    Motion     to   Amend     was     filed    on     June   6,   2012,

approximately 42 months after the deadline established by the

Scheduling Order, 33 months after conclusion of all discovery,

and 32 months after JPI filed its motion for summary judgment.

If the Motion to Amend were allowed, it would prejudice JPI by

"requiring a re-opening of discovery with additional costs [and]

a significant postponement of the trial." Steir, 383 F.3d at 12

(citing Acosta–Mestre, 156 F.3d at 52). It would also disrupt

the   progress     of   this      complicated    and    long-filed     case   by

requiring     additional         discovery,     briefing,       and   argument.


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Moreover,       the    individuals         proposed     to     be     added       as    named

plaintiffs would not be prejudiced by the denial of the Motion

to   Amend    because       they   may,     in   any    event,      file    one    or     more

separate suits on their own behalf(s). Cf. In re Sonus Networks,

229 F.R.D. at 346. Plaintiffs' Motion to Amend is, therefore,

being denied.

       B.     JPI's Motion to File a Supplemental Answer

       JPI moves to file a supplemental answer to the Complaint.

It seeks, by this motion (the "Motion to Supplement"), to assert

a defense of claim preclusion and issue preclusion based on the

GCA's decision that JPI is not, as a matter of law, Depianti's

employer. Plaintiffs oppose the Motion to Supplement, arguing

that    JPI's    proposed        defenses      should   have     been      raised      at   an

earlier     date.     See    Pls.'     Opp'n     to   JPI's    Mot.    to    File      Suppl.

Answer/Affirmative Defenses.

       The court may have the discretion to consider the potential

preclusive effect of the GCA's decision even if JPI does not

file    a   supplemental         answer.    "Respect     for     prior      judgments       is

deeply      ingrained       in   our    legal     regime,"      and     this      value     is

protected by constitutional and statutory provisions. Newman v.

Krintzman, 723 F.3d 308, 310 (1st Cir. 2013) (citing U.S. Const.

art. IV, §1; 28 U.S.C. §1738). The rules of claim and issue

preclusion serve to "relieve parties of the cost and vexation of

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multiple      lawsuits,          conserve           judicial         resources,      and,     by

preventing          inconsistent           decisions,           encourage       reliance      on

adjudication." Apparel Art Int'l, Inc. v. Amertex Enterprises

Ltd.,    48    F.3d       576,    583      (1st     Cir.      1995)     (quoting     Allen    v.

McCurry,      449    U.S.    90,      94    (1980)).       As     the   Ninth    Circuit     has

recognized, the rules and policies concerning preclusion may be

so   important       as    to    trump        the      ordinary      pleading    rules   under

certain circumstances. See Jackson v. Hayakawa, 605 F.2d 1121,

1129 (9th Cir. 1979).

      In any event, JPI's Motion to Supplement is meritorious. "A

motion to supplement the pleadings under Rule 15(d) is addressed

to   sound    discretion         of     the    Court."        Structural    Sys.,     Inc.    v.

Sulfaro, 692 F. Supp. 34, 36 (D. Mass. 1988); 6A Charles Alan

Wright   et    al.,       Federal       Practice        and    Procedure    §1504     (3d    ed.

2010) (citing Farmer v. Brennan, 511 U.S. 825, 845 (1994)). The

considerations of comity, judicial economy, and consistency that

underlie      the    preclusion         rules       are       important    factors     in    the

court's exercise of its discretion. In addition, the Motion to

Supplement,         unlike      plaintiffs'         Motion      to    Amend,    is   based    on

developments that occurred during the pendency of this case,

namely the decisions of the GCA and the SCG. Consequently, JPI

cannot be faulted for failing to include its preclusion defense

in its answer to the Complaint. Cf. Grieve v. Tamerin, 269 F.3d

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149, 154 (2d Cir. 2001); Momand v. Paramount Pictures Distrib.

Co., 6 F.R.D. 222, 223 (D. Mass. 1946).

      It is true that JPI did not file its Motion to Supplement

until July 24, 2013, long after the GCA had issued its June 23,

2011 decision. However, plaintiffs were put on notice of JPI's

intention to rely on the GCA's decision no later than September

21,       2011,    when   JPI    filed        a     Motion      for    Stay     and/or

Reconsideration in Light of the Principles of Res Judicata on

the basis of the GCA's decision. 4 In addition, JPI's delay in

filing its Motion to Supplement was excusable, to some degree,

during two periods of time: until July 9, 2013, because the SCG

had   not    yet    denied   certiorari,          and   after   August    31,     2012,

because a stay was entered in the instant case. In summary,

JPI's delay in bringing its Motion to Supplement was limited,

and it did not prejudice plaintiffs.

      Accordingly, JPI's Motion to Supplement is being allowed.

The   court       is   deeming   JPI's        proposed       Amended     Answer    and

Affirmative Defenses to be the operative answer in this case

and, as discussed below, the court is deciding JPI's preclusion

defense.




      4
          Earlier yet, on June 27, 2011, JPI filed a Notice
addressing the GCA's decision and requesting a status conference
to consider its consequences.
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IV.   THE SUMMARY JUDGMENT STANDARD

      Federal Rule of Civil Procedure 56(a) provides that the

court "shall grant summary judgment if the movant shows that

there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law." A factual

dispute,     therefore,        precludes     summary       judgment       if    it    is

"material" and "genuine." See Anderson v. Liberty Lobby, 477

U.S. 242, 247-48 (1986).

      A    fact    is    "material"    if,     in    light       of    the     relevant

substantive       law,   "it    has   the    potential      of    determining        the

outcome of the litigation." Maymi v. Puerto Rico Ports Auth.,

515 F.3d 20, 25 (1st Cir. 2008); Martinez-Rodriguez v. Guevara,

597 F.3d 414, 419 (1st Cir. 2010). "Only disputes over facts

that might affect the outcome of the suit under the governing

law properly preclude the entry of summary judgment." Anderson,

477 U.S. at 248.

      To determine if a factual dispute is "genuine," the court

must assess whether "the evidence is such that a reasonable jury

could return a verdict for the nonmoving party." Chadwick v.

WellPoint,    Inc.,      561   F.3d   38,    43     (1st   Cir.       2009)    (quoting

Anderson, 477 U.S. at 248); Taylor v. Am. Chemistry Council, 576

F.3d 16, 24 (1st Cir. 2009). In making this determination, the

court must "constru[e] the record in the light most favorable to
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the non-moving party," Douglas v. York Cnty., 433 F.3d 143, 149

(1st Cir. 2005), and "tak[e] all reasonable inferences in [the

non-moving party's] favor," id. at 145; see also Montalvo v.

Gonzalez-Amparo, 587 F.3d 43, 46 (1st Cir. 2009). The record

must not be scrutinized piecemeal. Rather, it must be "taken as

a    whole."    Matsushita        Elec.      Indus.        Co.,    Ltd.    v.    Zenith       Radio

Corp., 475 U.S. 574, 587 (1986); Kelly v. Cort Furniture, 717 F.

Supp.    2d     120,      122    (D.     Mass.      2010).        Evidence       submitted      in

inadmissible         form       may    be   considered            only    if     it     could    be

presented       in   a    form    that      would     be    admissible          at    trial.    See

Federal       Rule       of   Civil      Procedure         56(c)(2);           Gorski    v.     New

Hampshire Dep't of Corr., 290 F.3d 466, 475-76 (1st Cir. 2002);

Vazquez v. Lopez-Rosario, 134 F.3d 28, 33 (1st Cir. 1998).

        The party moving for summary judgment "bears the initial

responsibility of informing the district court of the basis for

its motion, and identifying those portions of [the record] which

it    believes       demonstrate        the    absence        of    a     genuine       issue    of

material       fact."     Celotex      Corp.     v.    Catrett,          477    U.S.    317,    323

(1986). However, the moving party's burden "may be discharged by

'showing' . . . that there is an absence of evidence to support

the nonmoving party's case." Id. at 325. Summary judgment is,

therefore, mandated "after adequate time for discovery and upon

motion, against a party who fails to make a showing sufficient

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to    establish      the    existence     of    an     element   essential      to    that

party's case, and on which that party will bear the burden of

proof at trial." Id. at 322; Gorski, 290 F.3d at 475-76; Smith

v. Stratus Computer, Inc., 40 F.3d 11, 12 (1st Cir. 1994).


V.     CROSS-MOTIONS FOR SUMMARY JUDGMENT: COUNTS II AND III

       A.      Additional Background

       Count II of the Complaint alleges that JPI misclassified

Depianti, as well as the other plaintiffs, as an independent

contractor, when he was, as a matter of law, an employee. Count

III    alleges      that,    as    a   result,       JPI   violated     wage    statutes

applicable to employees.

       These claims are governed by the Misclassification Statute,

which is intended "to protect employees from being deprived of

the         benefits        enjoyed       by         employees        through        their

misclassification           as   independent      contractors."        Mass.    Delivery

Ass'n    v.    Coakley,      671   F.3d   33,     37    (1st   Cir.    2012)    (quoting

Somers v. Converged Access, Inc., 911 N.E.2d 739, 749 (Mass.

2009)).       The   Misclassification          Statute     provides    that,    for    the

purpose of various wage and employment laws:

       an individual performing any service . . . shall                         be
       considered to be an employee . . . unless: --
            (1) the individual is free from control and
       direction in connection with the performance of the
       service, both under his contract for the performance
       of service and in fact; and
                                           21
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            (2) the service is performed outside the usual
       course of the business of the employer; and,
            (3) the individual is customarily engaged in an
       independently     established    trade,   occupation,
       profession or business of the same nature as that
       involved in the service performed.

Mass. Gen. Laws ch. 149, §148B(a). The Misclassification Statute

calls for a two-step analysis: "First, 'an individual performing

any service' is presumed to be an employee. Second, the statute

lays     out         three       indicia       of     an      independent         contractor

relationship, all three of which must be established to rebut

the presumption of employment." Depianti Answers, 990 N.E.2d at

1066-67 (citations omitted). "The failure of the employer to

prove all three criteria set forth above suffices to establish

that the individual in question is an employee." Somers, 911

N.E.2d at 747 (citing cases).

       The GCA applied the Misclassification Statute in accordance

with    these        principles.        It    began    with    the     presumption         that

Depianti       is    an    employee,      stating     that     "[u]nder         Massachusetts

law,     the    putative          employer     has    the     burden       to    overcome    a

rebuttable presumption that 'any person performing services for

another is an employee unless the employer meets the three prong

test'"     defined          by    the    Misclassification            Statute.      Depianti

Georgia,       712    S.E.2d      at    650   (quoting      Chaves    v.    King    Arthur's

Lounge,    Inc.,          No.    07–2505,     2009    WL    3188948    (Mass.       Sup.    Ct.

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Suffolk    July   20,   2009)).    The   GCA   then    examined     each     of    the

Misclassification Statute's three conditions, and found that the

evidence    established     each    beyond     genuine      dispute.    The       GCA,

therefore, concluded that on the record before it, "JPI is not

Depianti's employer" under the Misclassification Statute. Id. at

652. Accordingly, the GCA held that JPI was entitled to summary

judgment. Id.      As   noted   earlier,     on   July     9,   2013,   Depianti's

petition for certiorari to the SCG was denied.

      JPI contends that the GCA's decision precludes plaintiffs'

argument that JPI is Depianti's employer as a matter of law, and

that summary judgment should, therefore, enter against Depianti

on Counts II and III. See JPI's Sept. 24, 2013 Suppl. Submission

at 8, 10. Plaintiffs argue, in response, that the court should

not   follow      the   GCA's   decision,      but    instead       should    apply

Massachusetts      law,   and     specifically       the    SJC's    decision       in

Depianti Answers, on its own. See Pls.' Aug. 27, 2013 Suppl. at

4. Plaintiffs also argue that Depianti may yet prevail in the

proceedings conducted in Georgia, because he expects to have an

opportunity to appeal the Georgia trial court's denial of his

motion to dismiss for lack of personal jurisdiction. See Pls.'

Oct. 8, 2013 Reply Suppl. at 2 & n.1. 5


      5
          Plaintiffs also contend that if Depianti's claims are
precluded, the court should allow the Motion to Amend, thereby
adding other Massachusetts unit franchisees as named plaintiffs.
                               23
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       B.     The GCA's Decision Is Preclusive

       As discussed earlier in a different context, the doctrines

that    grant     preclusive         force     to    prior    decisions           of     other

competent courts are "deeply ingrained in our legal regime,"

Newman, 723 F.3d at 310. These doctrine draw on considerations

of     comity   between        jurisdictions,         conservation           of    judicial

resources, and consistency of judicial decisions. See Apparel

Art,    48    F.3d    at     583.    The   statutory      basis    for       the       federal

preclusion doctrines is 28 U.S.C. §1738, which provides that:

       The records and judicial proceedings of any court of
       any . . . State . . . shall have the same full faith
       and credit in every court within the United States and
       its Territories and Possessions as they have by law or
       usage in the courts of such State, Territory or
       Possession from which they are taken.

       "[U]nder      §1738's        full-faith-and-credit          mandate,            federal

courts must give preclusive effect to a state-court judgment if

the state court itself would. In other words, we must accept

that    state's      rules    for    deciding       the   effect   of    the       judgment

. . . ." Newman, 723 F.3d at 310 (citations omitted); Garcia-

Monagas v. De Arellano, 674 F.3d 45, 50 (1st Cir. 2012); In re

Sonus Networks, Inc., 499 F.3d 47, 56 (1st Cir. 2007). "When a

federal      court   considers       the     preclusive      effect     of    an       earlier



See Pls.' Reply Suppl. at 3 & n.2. For the reasons explained
earlier, the Motion to Amend is being denied.
                                             24
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state    court     judgment,    it    must    apply   that   state's    preclusion

principles . . . even when the new case poses a quintessentially

federal question." Goldstein v. Galvin, 719 F.3d 16, 22 (1st

Cir. 2013). The question whether the GCA's decision in Depianti

Georgia       is   preclusive    in    the    current    case   is,     therefore,

governed by Georgia law.

       The general rule under Georgia law is that "judgment is not

final as long as there is a right to appellate review." Greene

v. Transport Ins. 313 S.E.2d 761 (Ga. Ct. App. 1984) (quoting

Lexington Developers v. O'Neal Const. Co., 238 S.E.2d 770, 771

(Ga. App. Ct. 1977). Thus, in Georgia, "the fact that a prior

court judgment has been appealed suspends the operation of any

preclusive effect pending the appeal." CS-Lakeview At Gwinnett,

Inc. v. Retail Dev. Partners, 602 S.E.2d 140, 142 (Ga. Ct. App.

2004). Georgia law differs, in this respect, from Massachusetts

law and from federal law, in which "a trial court judgment is

final and has preclusive effect regardless of the fact that it

is on appeal." O'Brien v. Hanover Ins. Co., 692 N.E.2d 39, 44

(Mass. 1998) (citing S. Pac. Commc'ns Co. v. Am. Tel. & Tel.

Co.,    740    F.2d   1011,    1018–19   (D.C.    Cir.   1984));   In    re   Sonus

Networks, Inc. S'holder Derivative Litig., 422 F. Supp. 2d 281,

290 n.5 (D. Mass. 2006).



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     The GCA ruled in Depianti Georgia that JPI is entitled to

summary judgment, and the SCG declined to review that ruling.

Proceeding from Georgia's general rule alone, however, it would

appear that Depianti Georgia is not preclusive if any judgment

against Depianti may yet, as plaintiffs contend, be appealed on

personal jurisdiction grounds. 6

     Nevertheless, "[t]he courts of Georgia . . . have clarified

that when a trial judge certifies an interlocutory order for

immediate appeal, the order becomes final for purposes of both

appealability and preclusion." Cmty. State Bank v. Strong, 651

F.3d 1241, 1265 (11th Cir. 2011) (citing Culwell v. Lomas &

Nettleton   Co.,     248   S.E.2d   641,      642   (Ga.   1978);   Walker    v.

Robinson, 207 S.E.2d 6, 7 (Ga. 1974); Gresham Park Cmty. Org. v.

Howell,   652   F.2d   1227,   1242    n.43    (5th   Cir.   1981)).   In    the

current case, the Georgia trial court issued a Certificate of

Immediate   Review     concerning     its   order     finding   that   it    has

personal jurisdiction over Depianti. See JPI's Sept. 24, 2013




     6
          At the December 6, 2013 status conference, Depianti
reported that he intends to file an appeal from the Georgia
trial court's final judgment, on personal jurisdiction grounds,
soon after that conference. JPI expressed the view that this
appeal could no longer be taken. The court has not been informed
whether Depianti has filed an appeal or whether any such appeal
has been resolved. However, for the reasons explained above,
this information is not material to the instant decision.
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Suppl. Submission Ex. A. This ruling, therefore, became final

for preclusion purposes under Georgia's preclusion law. 7

      Accordingly,          the    court     is    required   to   adopt     the     GCA's

ruling in Depianti Georgia that "JPI is not Depianti's employer

with respect to the [Misclassification Statute]." 712 S.E.2d at

652. Therefore, the court is entering summary judgment against

Depianti on his misclassification claim (Count II) and on the

claims of wage-law violations (Count III), which are premised on

a finding of misclassification.

      C.        The    GCA's    Decision     Is    Consistent   with    Massachusetts
                Law

      The court's obligation to accord "full faith and credit" to

the GCA's decision in Depianti Georgia is, as noted earlier,

rooted     in    a    "[r]espect     for     prior    judgments"   that      is   "deeply

ingrained in our legal regime," and that serves important values

of   comity,         judicial     economy,    and    consistency.      See   28    U.S.C.

§1738; Newman, 723 F.3d at 310; Apparel Art, 48 F.3d at 583.

Accordingly, it is not necessary for the court to conduct an

independent examination of the merits of the GCA's decision. Cf.

Goldstein,           719   F.3d    at   22.        Nevertheless,    the      court    has


      7
          Plaintiffs' present contention that Depianti Georgia
is not preclusive is undermined, to some degree, by the fact
that they previously argued that the Georgia trial court's entry
of summary judgment in Depianti's favor was preclusive. See
Pls.' Aug. 16, 2010 Notice of Suppl. Authority at 2.
                                              27
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considered the merits and finds that Depianti Georgia appears to

be consistent with Massachusetts law, in general, and with the

SJC's decision in Depianti Answers, in particular.

        The GCA ruled that the three conditions established by the

Misclassification Statute are satisfied because of, in essence,

the following reasons. First, the GCA found that Depianti is

"free from [JPI's] control and direction" essentially because,

on    "undisputed   facts,"      BME   "makes         its    own   hiring     and    firing

decisions without control by JPI," "holds the accounts serviced

by Depianti," "pays Depianti," and "invoices customers serviced

by     Depianti."   712      S.E.2d    at    651.      The    GCA     found     that    JPI

"participates in none of this activity" and, therefore, that

"Depianti's performance of cleaning services is not controlled

by JPI." Id.

        Next, the GCA found that Depianti's services are "performed

outside [JPI's] usual course of the business" because "JPI's

usual business was establishing a trademark and cleaning system

that was then licensed to regional franchisees like BME." Id.

JPI    had   established,      according         to   the    GCA,    that     "its     usual

course of business was not to compete with unit franchisees for

cleaning contracts," but rather to "create[] a business model

that    it   licensed   to    regional      franchisees."           Id.   JPI   "did    not

market cleaning services to clients, it did not invoice clients

                                            28
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for cleaning services, it did not collect payment from clients

for cleaning services." Id. at 651-52.

      Finally, the GCA determined that Depianti is "customarily

engaged    in    an   independently           established         trade,     occupation,

profession or business of the same nature as that involved in

the   service     performed,"          because      of     "essentially          the   same

reasons" -- namely, because "JPI does not limit or control the

scope of Depianti's services or the continuation of his business

. . . Depianti has established a business separate from JPI, and

Depianti operates that business without intervention by JPI."

Id. at 652

      These     reasons    are       discrete      from    the    SJC's     holdings     in

Depianti      Answers.      The       only        issue     concerning           Depianti's

misclassification claim addressed in Depianti Answers was the

"limited question . . . whether a contract between the parties

is a necessary element of a claim under [the Misclassification

Statute]." Depianti Answers, 990 N.E.2d at 1065. In its answer

to this question, the SJC explained that the Misclassification

Statute    "contains       no    language         limiting       its   application       to

circumstances      where    the       putative      employer       and     the    putative

employee have entered into a contract together," id. at 1067,

and that this statute serves a "broad remedial purpose," namely

"to   protect     workers       by    classifying         them    as   employees,       and

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thereby grant them the benefits and rights of employment, where

the circumstances indicate that they are, in fact, employees."

Id. at 1066-67 (quoting Taylor v. Eastern Connection Operating,

Inc., 988 N.E.2d 408, 410 (Mass. 2013)). Accordingly, the SJC

concluded that "the lack of a contract for service between the

putative employer and putative employee does not itself preclude

liability under [the Misclassification Statute]." Id. at 1069.

     The GCA's decision in Depianti Georgia is not undermined by

this limited holding. The GCA did not rely on the absence of a

contract between the parties in finding that Depianti is not

JPI's employee. Rather, its reasons, as summarized earlier, were

rooted in the general fabric and specific characteristics of the

relationship between JPI and Depianti. The SJC, for its part,

clarified     that   its   holding    in    Depianti    Answers     does   not

necessarily    imply   that   JPI    is    Depianti's   employer.    The   SJC

stated that it was not "in any way suggesting that Depianti was

working as an employee of [JPI]," 990 N.E.2d at 1068, adding:

     In concluding that an entity like [JPI] can be liable
     under [the Misclassification Statute], without a
     contract between itself and the employee, we should
     not be understood as suggesting that [JPI] is in fact
     liable. We take no position on the question whether
     the   necessary  predicates  for   liability  can  be
     established here . . . .




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Id. at 1069 n.16. The SJC, thus, recognized that its decision

could be consistent with a determination that the "necessary

predicates for liability" are not met in this case.

       Plaintiffs       argue     that    given       the       SJC's   holding     that   a

defendant may be liable for misclassification even if there is

no contract between the putative employer and employee, "this

case is now no different in substance from other cases in which

[JPI]'s competitors have been held to have misclassified the

workers that perform the cleaning services for those companies."

Pls.' Aug. 27, 2013 Suppl. at 2 (citing Awuah v. Coverall N.

Am., Inc., 707 F. Supp. 2d 80 (D. Mass. 2010); De Giovanni v.

Jani-King Int'l, Inc., Civ. A. No. 07-10066-MLW (D. Mass. June

6,    2012)).    This    argument        is   not     accurate.         Rather,    Depianti

Georgia is       also    consistent       with     other        cases   decided    in    this

district,       under    Massachusetts         law,       concerning        more   or    less

comparable circumstances.

       Plaintiffs'        argument        ignores           a     potentially       crucial

difference between JPI and some of its competitors: the three-

tiered structure of JPI's business model. In Awuah, for example,

the    court     (Young,      D.J.)      entered         summary     judgment      for   the

plaintiffs,       workers       who   had     performed          cleaning    services      as

franchisees for Coverall, the defendant. The court found that

Coverall        had     not     satisfied          the      second       prong     of     the

                                              31
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Misclassification       Statute,     namely      the     requirement     that   the

worker's service be "performed outside the usual course of the

business     of   the   employer."       The   court     based     its   conclusion

primarily on the facts that:

        Coverall trains its franchisees and provides them with
        uniforms    and    identification    badges.    Coverall
        contracted    with   all    customers,   with    limited
        exceptions, until May 2009, and Coverall is the party
        billing all customers for the cleaning services
        performed. Finally, Coverall receives a percentage of
        the revenue earned on every cleaning service. These
        undisputed   facts   establish   that   Coverall   sells
        cleaning services, the same services provided by these
        plaintiffs.

Awuah, 707 F. Supp. 2d at 84 (citations to the record omitted).

Unlike Coverall, JPI did not, on the facts found by the GCA,

train     Depianti,     provide    him    with     equipment,       or   bill   the

customers to whom Depianti provided cleaning services. As the

GCA noted, many of these tasks were, in fact, performed by BME.

See Depianti Georgia, 712 S.E.2d at 652 ("were the comparison

between BME and Depianti, we might conclude that Depianti 'wears

BME's     hat,'   because . . . BME        holds       the    customer   accounts,

invoices     customers,     receives       customer          payments,   and    even

provides backup employees"). Accordingly, the reasoning of Awuah




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does not imply that JPI, like Coverall, should be considered to

be Depianti's employer. 8

     This court's decisions in the De Giovanni case also do not

undermine       the    GCA's       reasoning    in      Depianti    Georgia.        The

plaintiffs       in    De   Giovanni,     who    also     performed       janitorial

services,       brought     suit     against    three     defendants:         Jani-King

International, Kani-King Incorporated, and Jani-King of Boston.

In a June 6, 2014 oral decision, this court found that the De

Giovanni plaintiffs were entitled to summary judgment on the

"usual course of the business" prong of the Misclassification

Statute.     Summary        judgment    was     entered       against     all    three

defendants.      The    court   explained      that   although,     in    principle,

there     may     be    material       differences       between        the     various

defendants, summary judgment was appropriate as to all three

because     "they      chose    to   brief     the    issue    as   if    the     three




     8
          The Awuah court also stated, paraphrasing prior cases,
that "franchising is not in itself a business, rather a company
is in the business of selling goods or services and uses the
franchise model as a means of distributing the goods or services
to the final end user without acquiring significant distribution
costs." 707 F. Supp. 2d 84. Even assuming that this statement
characterizes all franchisors, it does not necessarily imply
that JPI is in the business of selling the same services
provided by Depianti. Rather, in the context of JPI's particular
business model, JPI may be understood to be in the business of
setting up "unit franchisees" (like Depianti) -- and to be using
the franchising mechanism to perform this service through
(regional master) franchisees like BME.
                                          33
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defendants were similarly situated." De Giovanni v. Jani-King

Int'l, Inc., 968 F. Supp. 2d 447, 450 (D. Mass. 2013).

       Defendants       subsequently        sought       reconsideration,             arguing

that Jani-King International and Jani-King Incorporated may not

be liable even if Jani-King of Boston is. The court found that

this argument had been waived. Id. at 450. However, the court

again       recognized        that   distinctions         between           the     different

defendants      may,     in    principle,       be    material,       and     scheduled         an

opportunity      to    reconsider       certain       facets    of    this        issue    at   a

later date. Id. at 455. Subsequently, the De Giovanni parties

reached a settlement agreement, which was approved by the court.

See De Giovanni v. Jani-King Int'l, Inc., Civ. A. No. 07-10066-

MLW (D. Mass. Aug. 8, 2014).

       Thus, this court did not determine, in De Giovanni, that a

franchisor      whose       franchisees    are       themselves       franchisors,         like

JPI,     is     legally        indistinguishable          from        its     intermediate

franchisees. The entry of summary judgment against the three

defendants       in    De     Giovanni    was,       rather,     a    result        of    those

parties' own decision to litigate that case as if they represent

a single party.

       At     their    core,    Awuah     and    De    Giovanni           indicate       that    a

franchisor is, as a matter of law, the employer of franchisee-

plaintiffs       who    perform      cleaning        services        if    the     franchisor

                                            34
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"sells cleaning services, the same services provided by the[]

plaintiffs." Awuah, 707 F. Supp. 2d at 84. The franchisor in

Awuah did, according to the Awuah court's findings, itself sell

cleaning services. Id. In the De Giovanni case, the business of

one or more of the defendants was selling cleaning services, and

the three defendants failed to distinguish among themselves. See

De Giovanni, 968 F. Supp. 2d at 450.

     These decisions do not mean that every franchisor whose

franchisees perform cleaning services -- or whose franchisees'

franchisees perform cleaning services -- itself sells cleaning

services, and is therefore the employer of those franchisees as

a matter of law. The essence of the GCA's findings in Depianti

Georgia   is   that   JPI's   "usual   course   of   business   was   not   to

compete with unit franchisees for cleaning contracts," since JPI

"did not market cleaning services to clients, it did not invoice

clients for cleaning services, it did not collect payment from

clients for cleaning services," instead limiting its activities

to "creat[ing] a business model that it license[s] to regional

franchisees." 712 S.E.2d at 651-52.

     In summary, the GCA's decision in Depianti Georgia is not

only binding on this court, for the preclusion reasons described

earlier. It also represents a sound application, to the facts

undisputed before the GCA, of Massachusetts law, as developed by

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the SJC and as applied in more or less comparable cases decided

in this district.


VI.   JPI'S MOTION FOR SUMMARY JUDGMENT: COUNTS I AND IV

      A.     Additional Background

      Counts      I     and     IV    of     the      Complaint       assert        claims       of,

respectively,         unfair         and    deceptive           business      practices          and

misrepresentation. Plaintiffs' allegations, which are detailed

below,     are    based       on     the    conduct        of    JPI's      regional        master

franchisees, BME in Depianti's case. Plaintiffs claim that the

regional master franchisees "act as agents" of JPI, and that JPI

is,   therefore,         vicariously            liable      for      their        actions.       See

Complaint        ¶17.     JPI        disputes        the    contention            that     it     is

vicariously liable for the regional master franchisees' conduct.

See Mem. Supp. JPI's Mot. Summ J. at 5-11; JPI's Sept. 24, 2013

Suppl.     Submission         at     11-12.      In    addition,           JPI     argues       that

plaintiffs, including Depianti, have not been actionably harmed

by their respective regional master franchisees. See Mem. Supp.

JPI's Mot. Summ J. at 13-14.

      The question of when a franchisor like JPI is vicariously

liable     for    the     conduct          of    a    franchisee           like     BME,     under

Massachusetts         law,     was     the      subject         of   the    second       question

certified by this court to the SJC. More specifically, the SJC

was asked "[w]hether and how to apply the 'right to control
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test'     for    vicarious         liability          to   the     franchisor-franchisee

relationship." Depianti Questions, 2012 WL 3835090, at *3 (Order

¶1(b)). The SJC began its analysis of this question from the

basic principle that:

     Generally, vicarious liability may be imposed where
     "the relation of master and servant existed at the
     time the plaintiff was injured, whereby the . . . act
     of the servant was legally imputable to the master."
     The test to establish the existence of such a
     relationship is whether the alleged master had "power
     of control or direction" over the alleged servant. "It
     is not necessary that there be any actual control by
     the alleged master to make one his servant or agent,
     but merely a right of the master to control."

Depianti Answers, 990 N.E.2d at 1062 (citations omitted). The

SJC explained, however, that this general test is "not easily

transferable          to     the    franchise         relationship."          Id.    at     1063

(quoting Kerl v. Dennis Rasmussen, Inc., 682 N.W.2d 328, 337

(Wis.   2004)).        The    reason       for    this     difficulty         is   that    under

federal     trademark            law,     franchisors        risk        losing      trademark

protection if they do not "maintain control and supervision over

a   franchisee's           use     of     its    mark."      Id.    (citing         15    U.S.C.

§1064(5)(A); Mini Maid Servs. Co. v. Maid Brigade Sys., Inc.,

967 F.2d 1516, 1519 (11th Cir. 1992)). Courts have explained,

however,    that       the       trademark-law        requirement        of    "control      and

supervision" is not intended "to create a federal law of agency

. . . [or       to]    saddle       the    licensor        with    the    responsibilities

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under state law of a principal for his agent." Id. (quoting

Oberlin    v.    Marlin   Am.   Corp.,      596    F.2d   1322,    1327    (7th    Cir.

1979)).

       In order to "ensure that liability will be imposed only

where    the    conduct    at   issue    properly      may   be   imputed     to   the

franchisor,"      id.,    the   SJC   adopted      a   modified     version   of   the

"right to control test" known as the "instrumentality test."

This    test    was   defined   by,     among     other   courts,    the    Wisconsin

Supreme Court in Kerl. According to the SJC:

       The Kerl court held that "the marketing, quality, and
       operational standards commonly found in franchise
       agreements are insufficient to establish the close
       supervisory control or right of control necessary to
       demonstrate   the   existence   of  a   master/servant
       relationship for all purposes or as a general matter."
       Accordingly, the court applied a modified version of
       the "right to control test," concluding that a
       franchisor may be held vicariously liable for the
       conduct of its franchisee only if the franchisor
       controls or has a right to control "the daily conduct
       or operation of the particular 'instrumentality' or
       aspect of the franchisee's business that is alleged to
       have caused the harm."

Id. (quoting Kerl, 682 N.W.2d at 332, 340). The SJC added that

"[t]he 'instrumentality' test adopted by the Kerl court accords

with the approach of the majority of courts that have considered

vicarious       liability       in    the       context      of     the     franchise

relationship." Id. at 1064 (citing cases). It concluded that "a

franchisor      is    vicariously       liable     for    the     conduct     of   its

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franchisee only where the franchisor controls or has a right to

control the specific policy or practice resulting in harm to the

plaintiff." Id.

          B.     General Analysis

          As   explained    earlier,          plaintiffs'     Complaint      alleges      that

JPI is liable for the acts of its regional master franchisees,

such as BME, because those regional master franchisees "act as

agents" of JPI. See Complaint ¶17. Plaintiffs allege generally

that JPI "maintains the right to control" the conduct of the

regional        master     franchisees,         and    that   JPI    also    "exerts      such

actual         control."    Id.     Plaintiffs        note    that   both    JPI    and    its

regional master franchisees use the brand name "Jan-Pro," that

they      are    "part     of   a      franchise      organization,"        and    that    the

regional         master     franchisees          use     methods,        standards,       and

procedures developed by JPI. Id. ¶¶18-21.

          Plaintiffs also make more specific allegations concerning

the       relationship          between        JPI     and     its    regional       master

franchisees. They allege that JPI "retains the right to enforce

provisions of its franchise agreements," that it is permitted to

"directly oversee the work" of any unit franchisee, and that it

is    a    "beneficiary"          of    the    agreements      between      each   regional

master franchisee and its unit franchisees. Id. ¶¶28-29. More

narrowly, the Complaint asserts that JPI imposes policies that

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govern any advertising and promotional materials used by the

regional master franchisees, and that such materials are subject

to JPI's review and approval before they can be used. Id. ¶22.

Finally,   according    to    the    Complaint,    JPI   has    the       right   to

approve all terminations of unit franchisees. Id. ¶55.

      Under the legal framework delineated by the SJC in Depianti

Answers, JPI is not vicariously liable for the conduct of its

regional master franchisees, including BME, merely because of

the   general    degree      of     influence   inherent       in     a    typical

franchisor-franchisee        relationship.        Rather,      in     order       to

establish that JPI is vicariously liable, plaintiffs must prove

that JPI "controls or has a right to control the specific policy

or practice resulting in harm." Depianti Answers, 990 N.E.2d at

1064. 9


      9
          The Complaint also alleges that JPI is liable
directly, not vicariously, "to the extent that it has taken over
direct oversight of certain cleaning franchises." Complaint ¶51.
Plaintiffs have since conceded, however, that JPI "has never
taken direct oversight over any unit franchise." Pls.' Statement
of Facts Opp'n to JPI's Mot. Summ. J. at 20 (Def.'s Statement of
Facts Supp. Mot. Summ. J. ¶40 is "not disputed").
     One other assertion in the Complaint arguably concerns
direct liability: plaintiffs allege that JPI requires that
regional master franchisees sell a minimum annual quota of unit
franchises, and that this requirement causes regional master
franchisees to engage in misrepresentations and in unfair
practices. See Complaint ¶¶53-54. Such a quota is, in fact,
included in JPI's contracts with BME. See Exhibit Compendium Tab
2A, §§4.5-4.6 ("JPI-BME Contract"). However, there is no
evidence in the record that could reasonably support the
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      Therefore, in order for Counts I and IV to survive summary

judgment as to Depianti, the evidence in the summary judgment

record must be sufficient to create a genuine dispute as to two

sets of allegations: (a) that specific policies or practices to

which      Depianti     was        subjected      were     actionable        as

misrepresentations      or    as    unfair     and   deceptive      businesses

practices; and (b) that JPI either controlled these policies or

practices or had the right to control them.

      C.   Misrepresentation

      A plaintiff in an action for misrepresentation is required

to prove: (a) that "the defendant made a false representation of

a   material   fact";   (b)   that    "the     plaintiff   relied    upon   the

representation as true and acted upon it"; and (c) that the

plaintiff's reliance was "to his damage." Kennedy v. Josephthal

& Co., 814 F.2d 798, 805 (1st Cir. 1987) (quoting Danca v.

Taunton Savings Bank, 385 Mass. 1, 8, 429 N.E.2d 1129, 1133


conclusion that any actionable injuries to Depianti were
causally connected to this quota. The evidence relevant to this
issue consists primarily of the deposition testimony of Jeff
Bradley, BME's owner since 2006. Bradley testified that BME has
met its quota every year, that it does not take active steps to
solicit new unit franchisees, and that it sometimes turns down
prospective unit franchisees. See Deposition Compendium Tab E at
16, 27, 49 ("Bradley Dep."). In addition, JPI's President and
CEO, Richard Kissane, testified that JPI never exercises the
sanctions that it is permitted, but required, to exercise if
regional master franchisees do not meet their quotas of new unit
franchisees. See Deposition Compendium Tab A at 32-33, 84-86,
125-26 ("Kissane Dep.").
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(Mass.     1982)).      A   representation           of   fact    is   "material"    if   "a

reasonable man would attach importance [to it] in determining

his choice of action in the transaction in question." Zimmerman

v. Kent, 575 N.E.2d 70, 74-75 (Mass. App. Ct. 1991) (quoting

Rogen v. Ilikon Corp., 361 F.2d 260, 266 (1st Cir. 1966)).

      A plaintiff alleging misrepresentation must prove that his

reliance     on    the      defendant's          representation         was    reasonable.

Kennedy, 814 F.2d at 805 (citing Saxon Theatre Corp. v. Sage,

200   N.E.2d      241,      244–45    (Mass.         1964)).      However,     he   is    not

required     to    prove      that        the   defendant        actually     intended    to

deceive him, or even that the defendant knew his statement to be

false -- "provided the thing stated is not merely a matter of

opinion, estimate, or judgment, but is susceptible of actual

knowledge." Nickerson v. Matco Tools Corp., 813 F.2d 529, 530

(1st Cir. 1987) (quoting Powell v. Rasmussen, 243 N.E.2d 167,

168 (Mass. 1969)); Snyder v. Sperry & Hutchinson Co., 333 N.E.2d

421, 428 (Mass. 1975). 10

      The Complaint alleges that Depianti, along with the other

plaintiffs,       was    harmed      by    essentially       two    misrepresentations.

      10
          Because, under cases like Nickerson, Powell, and
Snyder, the defendant's intent need not be proven, it is not
necessary for present purposes to analyze the cause of action
sometimes defined separately as "negligent misrepresentation."
See Nota Const. Corp. v. Keyes Associates, Inc., 694 N.E.2d 401,
405 (Mass. App. Ct. 1998); Logan Equip. Corp. v. Simon Aerials,
Inc., 736 F. Supp. 1188, 1199-1200 (D. Mass. 1990).
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Cf. Depianti           Answers,      990   N.E.2d      at    1064       n.11.       Both       alleged

misrepresentations             concern     the       requirement            that    the    regional

master        franchisee        "furnish        to    [the       unit        franchisee] . . .

customer        account(s) . . . amounting                  to    [a        fixed       sum]    gross

volume    per        year."    BME-Depianti          Contract       ¶1(A).         In    Depianti's

case, the amount of "gross volume per year" promised in the

contract was $100,000. Id.

        The    first       misrepresentation          alleged          in    the    Complaint       is

that, when plaintiffs were considering whether to become unit

franchisees,          they     were      misled       to     believe          that       sufficient

business was available "to provide the monthly income [promised]

in their agreements." Complaint ¶34. In truth, according to the

Complaint, the accounts under the regional master franchisee's

control       were     insufficient        to    satisfy         the    promised          volume   of

work.     Id.        The    second    purported         misrepresentation                 allegedly

occurred        after         plaintiffs        had        become           unit     franchisees.

Plaintiffs allege that they were then misinformed about "the

number of hours per week that will be required to service the

accounts offered" to them, in order to "induce [plaintiffs] to

accept the accounts toward their guaranteed level of income."

Id. ¶41.

        Plaintiffs         have   offered       no    evidence         indicating          that    the

latter        form    of     misrepresentation             occurred          with       respect     to

                                                43
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Depianti. An affidavit submitted by Depianti makes no mention of

such conduct. See Pls.' Statement of Facts Opp'n to JPI's Mot.

Summ. J. Ex. 16 ("Depianti Aff."). In addition, Depianti did not

discuss      any   such   misrepresentations    at   his   deposition.     See

Deposition Compendium Tab J ("Depianti Dep."). Plaintiffs insist

that the record supports the contention that "the time estimated

to service [cleaning] accounts" was not accurate, relying on

Depianti's testimony "that the accounts were underbid." Pls.'

Sur-Reply in Opp'n to Def.'s Mot. Summ. J. at 5. It is true

that, as discussed below, Depianti testified that he "felt he

should have gotten more money" for his work. See Depianti Dep.

at 164-65. He did not, however, assert that BME or anyone else

had misrepresented to him the amount of time that any cleaning

tasks would require. There is, therefore, no evidence that could

lead     a    reasonable     fact   finder     to    conclude   that      such

misrepresentations were made.

       The misrepresentation allegedly made earlier in time, when

Depianti was considering whether to become a unit franchisee, is

better supported in the summary judgment record. As noted above,

Depianti was promised by contract that he would be furnished

accounts worth $100,000 of "gross volume per year." BME-Depianti

Contract ¶1(A). Similarly, Depianti asserts that John Bradley,

BME's owner until 2006, "told [Depianti that he] was guaranteed

                                     44
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to   earn    at   least    $100,000        per       year."        Depianti           Aff.    ¶2.    A

reasonable fact finder could find that these promises implied a

representation that BME had the capacity to meet the obligations

it was taking on toward Depianti.

      Depianti asserts, in his affidavit, that in reality, the

accounts     provided     to   him    by       BME    during        the    years       2003-2007,

except      for   a   two-month       period,          amounted           to     an    income       of

approximately $3,000 per month. Id. ¶¶5-9. After October, 2007,

the gross monthly income generated by these accounts dropped to

$1,000. Id. ¶11. This evidence tends to support the inference

that the representations made to Depianti concerning the amount

of   business     that    would      be    available          to    him        were     false.      In

addition,      Jeff   Bradley,        BME's          owner        since        2006    (and     John

Bradley's     son),      indicated        at    deposition          that        the    volume       of

available cleaning accounts plays only a limited role in BME's

decision as to whether to sell a franchise to a prospective unit

franchisee. See Bradley Dep. at 51-55. A reasonable fact finder

could arguably conclude, therefore, that BME's representations

to   Depianti      concerning        the       volume        of     work        that    would       be

available to him were false. 11


      11
          The representations allegedly made to Depianti may
also be viewed as "a matter of opinion, estimate, or judgment,"
Nickerson, 813 F.2d at 530 (quoting Powell, 243 N.E.2d at 168),
concerning the volume of cleaning accounts that BME would
provide to Depianti in the ensuing months. "Statements of
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       As discussed earlier, JPI, as opposed to BME, can be held

liable for BME's conduct only if it "controls or has a right to

control the specific policy or practice resulting in harm," in

this     case     the      representations               made     to         potential      unit

franchisees. See Depianti Answers, 990 N.E.2d at 1064. BME's

representation      that        it    could    provide         Depianti           with   cleaning

accounts    worth       $100,000       annually          was    taken    from        a   menu   of

"franchise      plans"     of    different         sizes       used     by    JPI's      regional

master    franchisees.          This    menu       was    provided       to       the    regional

master    franchisees      by        JPI,   and    was     included          in    the   "Uniform

Franchise       Offering        Circular"         provided       to      prospective        unit

franchisees. See Bradley Dep. at 61; Exhibit Compendium Tab 21,

at 6. The menu of franchise plans includes plans ranging in

annual gross revenue from $5,000 to $200,000. Id.

       BME's     alleged        misrepresentation               was      essentially            its

selection of the $100,000 franchise plan as a plan available to


opinion or judgment relating to future events . . . may be
actionable where the defendant misrepresents his actual present
intent to perform a future act." Logan Equip. Corp, 736 F. Supp.
at 1199-1200 (citing Barrett Associates, Inc. v. Aronson, 190
N.E.2d 867, 868 (Mass. 1963)). "[L]ack of present intent to
perform is a question of fact susceptible to proof like any
question of fact, including resort to circumstantial evidence."
20 Atlantic Ave. Corp. v. Allied Waste Industries, Inc., 482 F.
Supp. 2d 60, 63 (D. Mass. 2007) (citing Bolen v. Paragon
Plastics, Inc., 754 F. Supp. 221, 226 (D. Mass. 1990)). A
reasonable fact finder could find, based on the evidence
discussed above, that BME misrepresented its intent to perform
at the time it contracted with Depianti.
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Depianti. There is no evidence in the summary judgment record

that        could     reasonably               support       the      conclusion            that      JPI

controlled,          or     had       a    right        to    control,          BME's        decisions

concerning the plan(s) offered to prospective unit franchisees.

The contract between JPI and BME provides that BME has "sole

responsibility             for . . . the            sale        of       franchises"          in     its

territory. See JPI-BME Contract §4.25. Jeff Bradley averred that

BME "decides for itself . . . whether to sell a unit franchise

to a particular person." Exhibit Compendium Tab 2, ¶8 ("Bradley

Aff.").       Bradley       also      testified          that      BME    was        free    to    offer

franchise plans that deviated from JPI's standard menu, and that

such deviations did not require JPI's approval. See Bradley Dep.

at 61-62. This information was confirmed by Richard Kissane,

JPI's President and CEO. See Kissane Dep. at 27, 116-17. The

testimony       of     Bradley        and        Kissane      was     not       controverted.         In

addition, while, as mentioned earlier, JPI required that BME

sell    a    minimum       number         of    unit     franchises           per    year,    no    such

requirement          was    imposed            concerning       the      volume       of     the    unit

franchisees' franchise plans. See JPI-BME Contract §§4.5-4.6.

       In     summary,          the   only        alleged       misrepresentation              that    a

reasonable          fact   finder         could     find      made       to    Depianti       was     the

misrepresentation that BME would be able to provide him with

$100,000       worth       of    annual         cleaning      work.       No        reasonable      fact

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finder      could    find    that     JPI    controlled,      or    had   a    right    to

control,      this     instrumentality           of   BME's   operations.      JPI     is,

therefore,          entitled     to     summary         judgment     on       Depianti's

misrepresentation        claim.       See    Depianti     Answers,    990     N.E.2d    at

1064.

       D.     Unfair and Deceptive Business Practices

       Count Four of the Complaint asserts a claim for unfair and

deceptive       business     practices       under     Chapter     93A.   Chapter      93A

provides, in part, that "[u]nfair methods of competition and

unfair or deceptive acts or practices in the conduct of any

trade or commerce are hereby declared unlawful." Ch. 93A §2.

Chapter 93A "is broad in scope and does not catalogue the type

of    conduct    falling       within   its       prohibition."     Cummings     v.    HPG

Int'l, Inc., 244 F.3d 16, 25 (1st Cir. 2001). The First Circuit

has     explained      the     manner       in    which   Chapter     93A     has     been

interpreted by the Massachusetts courts:

       Litigation under [Chapter] 93A is rampant, but a
       common refrain has developed. "The objectionable
       conduct must attain a level of rascality that would
       raise an eyebrow of someone inured to the rough and
       tumble of the world of commerce." In other words, a
       chapter 93A claimant must show that the defendant's
       actions fell "within at least the penumbra of some
       common-law, statutory, or other established concept of
       unfairness," or were "immoral, unethical, oppressive
       or unscrupulous," and resulted in "substantial injury
       . . . to competitors or other businessmen."



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Quaker State Oil Refining Corp. v. Garrity Oil Co., 884 F.2d

1510,   1513   (1st    Cir.   1989)     (quoting    PMP    Associates,       Inc.    v.

Globe Newspaper Co., 321 N.E.2d 915, 917 (Mass. 1975)) (other

citations      omitted);      Mass.     Eye     &   Ear     Infirmary        v.     QLT

Phototherapeutics, Inc., 552 F.3d 47, 69 (1st Cir. 2009).

     Courts assessing Chapter 93A claims are required to focus

"on the nature of challenged conduct and on the purpose and

effect of that conduct." Mass. Employers Ins. Exch. v. Propac-

Mass, Inc., 648 N.E.2d 435, 438 (Mass. 1995); Commercial Union

Ins. Co. v. Seven Provinces Inc. Co., 217 F.3d 33, 40 (1st Cir.

2000). Additional consideration may be given to the "equities

between the parties," to "what a defendant knew or should have

known," and to "a plaintiff's conduct, his knowledge, and what

he reasonably should have known." Swanson v. Bankers Life Co.,

450 N.E.2d 577, 580 (Mass. 1983).

     An   action      under   Chapter     93A   may   be    brought     by    "[a]ny

person . . . who has been injured by another person's use or

employment     of"   an   unfair   or   deceptive     practice.   See        Ch.    93A

§9(1). Thus, a Chapter 93A claim requires a "causal connection"

between the defendant's unfair or deceptive practice and the

plaintiff's injury. See Hershenow v. Enter. Rent-A-Car Co. Of

Boston, Inc., 840 N.E.2d 526, 532 (Mass. 2006); Kohl v. Silver

Lake Motors, Inc., 343 N.E.2d 375, 379 (Mass. 1976).

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       Plaintiffs       allege     that    they      were    subject     to     essentially

four unfair or deceptive practices. Cf. Depianti Answers, 990

N.E.2d at 1064 n.11. First, plaintiffs allege that they were

regularly       provided       cleaning       accounts      that   are    geographically

distant     from         one     another         and,       therefore,        unreasonably

inconvenient. See Complaint ¶43. Next, according to plaintiffs,

the     cleaning        accounts       that     they       serviced      were    regularly

"underbid,"       so    that    the     income      that    plaintiffs     received      for

their    work     was    less    than     the    fair      value   of    that    work.   See

Complaint ¶50. Third, plaintiffs allege that cleaning accounts

were frequently taken away from them unjustifiably, after those

accounts were counted against the amount of cleaning business

guaranteed to them by contract. Allegedly, these accounts were

then "churned" to other unit franchisees, so that the regional

master franchisee could appear to have provided multiple unit

franchisees with the required amount of cleaning business. Id.

¶46.

       Finally, plaintiffs allege that their contracts with the

regional master franchisees were inherently unfair, essentially

because they provided for the deduction of excessive fees from

the gross income generated by plaintiffs' cleaning services. Id.

¶49. According to plaintiffs, the franchise agreements that they

signed     were     written       in     misleading,         "highly      technical      and

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confusing       language,"         which       is     difficult       for       plaintiffs        to

understand, especially since many of them are immigrants who are

not fluent in English. Id. ¶¶30-33.

     JPI argues that plaintiffs' allegations cannot support a

claim    under    Chapter         93A     because       they      "amount[]       to    a    simple

breach    of     contract          claim."          JPI's     Sept.       24,     2013      Suppl.

Submission at 11. This argument is not meritorious. "[I]t is

correct that a breach of contract alone does not amount to an

unfair act or practice under [Chapter] 93A." Propac-Mass, 648

N.E.2d at 438 (citing Whitinsville Plaza, Inc. v. Kotseas, 390

N.E.2d 243, 251 (Mass. 1979)). However, breaches of contract,

especially       if    they       are    systematic          or   coercive,       may       violate

Chapter 93A if they reach the requisite level of "rascality" and

oppressiveness. See Quaker State Oil, 884 F.2d at 1513; Propac-

Mass,    648    N.E.2d       at    438;       Anthony's       Pier    Four,       Inc.      v.   HBC

Associates,       583        N.E.2d       806,        821    (Mass.       1991).       Moreover,

plaintiffs' Chapter 93A allegations are not limited to purported

breaches of contract. Rather, plaintiffs claim, in essence, that

the business model offered to prospective unit franchisees was

structured       in     an    inherently            unfair        manner.       The    following

paragraphs,       therefore,            examine,       as    to    each     unfair       practice

alleged    by     plaintiffs,            whether       the     summary      judgment         record

sufficiently          supports          the    conclusion           that        that     practice

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occurred, and whether it sufficiently supports the conclusion

that JPI controlled that practice or had a right to do so.

       Plaintiffs have provided no evidence that could reasonably

support     the     conclusion        that      Depianti     was   provided         with

geographically inconvenient accounts. Depianti does not complain

about such a practice in his affidavit, and he did not do so at

deposition.       Indeed,     plaintiffs'        detailed    Statement    of    Facts

apparently     abandons      the     claim      that   the   accounts    offered     to

Depianti were geographically inconvenient, although they sustain

this claim as to other plaintiffs. See Pls.' Statement of Facts

Opp'n to JPI's Mot. Summ. J. ¶¶72-74.

       In contrast, the summary judgment record includes evidence

that tends to support the contentions that Depianti suffered

from     underbidding        of      his     cleaning        accounts    and        from

unjustifiable termination of those accounts. Depianti testified

at deposition that he "felt he should have gotten more money"

for the work he did on "[a]ll the accounts [he] had." Depianti

Dep. at 165. He asserted that he had reached this conclusion by

"talk[ing]    to    the     people    working     over   there,"   namely      at   the

locations he serviced. Id. Depianti explained:

       [F]or example, I'm going to give you a name over here.
       Medford Pediatrics, when I started over there, the
       person cleaning up that before the account, he was
       $1,500, the Medford Pediatrics pay Coverall. And John
       Bradley give the price for $947.

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Id. In addition, Jeff Bradley testified that when BME determines

the price it will bid for a given cleaning account, it does not

take into account its competitors' prices, because it is "not

interested in local competition." Bradley Dep. at 46.

     Depianti also testified at length about the accounts that

he had serviced and that were terminated, in his view, without

justification. See Depianti Dep. at 116, 124-28, 132, 147-48. In

his affidavit, Depianti states:

     In September of 2005 I was offered a job cleaning
     Welch's . . . . In November of 2005 John Bradley's
     son, operations manager Jeffrey Bradley, took away the
     Welch account. He did not provide an explanation. I
     went to the account to drop off a magnetic key card
     and learned that no one had a problem with my service.
     . . .
     From August to October of 2007 the managers . . . took
     away 6 of my 8 accounts. I was told that the customers
     were unhappy with my service, which I do not believe
     was true. I was never even given a reason as to why I
     was losing some accounts. For example, I worked at
     Rick's Auto Body and John Bradley took away the
     account from me without an explanation.

Depianti   Aff.   ¶¶6,   8,   10.   A   reasonable   fact   finder   could

conclude, based on this evidence, that Depianti suffered both

from underbidding and from unjustifiably terminated accounts. 12



     12
           Jeff Bradley asserts in an affidavit that "many of
Depianti's    accounts . . . canceled service based  on   dis-
satisfaction with Depianti's cleaning service." Bradley Aff.
¶12. Attached to Bradley's affidavit are letters of complaint
from some of Depianti's account holders. Id. Tab 2B. A
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       However, the record does not contain evidence sufficient to

permit a reasonable fact finder to conclude that JPI controlled,

or had a right to control, the specific policies and practices

relevant to BME's alleged underbidding and unjustifiable account

termination. First, according to the contract between JPI and

BME,    JPI   does   not   have    the    right   to    control      BME's   bidding

decisions: the contract states that "[n]othing in this agreement

shall be construed to prevent [BME] from freely setting its own

prices    and   discounts    for    services      and   products      that    it   may

render or sell." JPI-BME Contract ¶15.1. The available evidence

also indicates beyond genuine dispute that JPI does not control

BME's account bidding in practice. JPI provides its regional

master franchisees with an electronic worksheet, known as "EZ-

bid," that is intended to facilitate bidding. However, all of

the relevant evidence in the record indicates that EZ-bid is

used by BME only occasionally, at BME's discretion, along with

other    methods.    According     to    Jeff   Bradley,      "JPI   does    not   get

involved in, and BME decides for itself . . . contracting with

customers,      pricing     accounts . . . BME           priced      the     accounts

offered    to   Depianti,   and    does    all    of    its   pricing      proposals,

based on its own analysis and without any help from anyone at



reasonable fact finder        could,       nevertheless,       credit      Depianti's
version of events.
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JPI." Bradley Aff. ¶¶7, 10; see also Bradley Dep. at 35-37, 45;

Kissane Dep. at 119, 121 (EZ-bid provides a "guideline").

        Next,    the      summary       judgment     record      would         not     permit    a

reasonable fact finder to conclude that JPI controlled, or had a

right     to     control,         BME's     decisions        concerning          whether        to

terminate any of Depianti's cleaning accounts. No evidence in

the    record       indicates     that     JPI   was     actually         involved      in    such

decisions. At deposition, Jeff Bradley described the practices

that    BME     employs     in     its    decisions      whether          to   take    cleaning

accounts       away    from      unit    franchisees.      JPI       is    not   involved       in

these practices. See Bradley Aff. 70-72. Bradley also states, in

his    affidavit,         that    "JPI    does     not   get   involved          in,    and    BME

decides       for     itself,"      decisions        concerning           matters      such     as

"managing       the    unit       franchise      relationship,            contracting         with

customers, . . . customer                complaints       about       cleaning         services,

. . . [and]         how     to    determine        whether       a    unit       franchisee's

franchise plan has been fulfilled." Bradley Aff. ¶¶7-8.

        A fact finder also could not reasonably conclude that JPI

has a right to control BME's decisions concerning whether to

terminate a unit franchisee's work on a given account. The most

pertinent provision in the contract between JPI and BME states

that BME "agrees to be solely responsible for the relations with

any unit franchisees." JPI-BME Contract §4.13. Other provisions

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state: (a) that JPI has the right "to enforce any provision of

any   unit   franchise    agreement"      if    BME    fails   to    do    so    after

receiving written notice from JPI; (b) that, if JPI receives

recurring complaints from a customer, it is permitted to "assume

the rights and obligations" under a contract with that customer;

and (c) that JPI has "the right to establish company policies

and/or    procedures     pertaining       to    the     operation     of    [BME's]

franchised    business,       the   terms      of    this   Agreement,      or    the

business of any unit franchisee." Id. §§4.13, 4.15, 4.28, 14.4.

Under these provisions, only extraordinary circumstances permit

JPI to intervene in BME's ordinary course of business. The last

of these provisions also gives JPI the right to establish what

are   essentially      "the     marketing,          quality,   and    operational

standards    commonly    found      in   franchise       agreements."      Depianti

Answers, 990 N.E.2d at 1063 (quoting Kerl, 682 N.W.2d at 332).

Such standards, the SJC has held, "are insufficient to establish

the close supervisory control or right of control necessary to

demonstrate the existence of a master/servant relationship for

all purposes or as a general matter." Id. In all, the record

would not permit a reasonable fact finder to conclude that JPI

has a right to control "the daily conduct or operation" of BME's

decisions to terminate unit franchisees' cleaning accounts, or

that it exercises such control. See id.; Kerl, 682 N.W.2d at 340

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(a general right to impose operational requirements does not

generate vicarious liability); Coworx Staffing Servs., LLC v.

Coleman, 22 Mass. L. Rptr. 166 (Super. Ct. 2007) (same).

       The final unfair or deceptive practice of which plaintiffs

complain concerns the alleged inherent unfairness of Depianti's

unit franchise agreement. More specifically, plaintiffs contend

that the contract provides for the deduction of excessive fees

from     the    gross     revenue     generated         by     Depianti's       work.    See

Complaint       ¶49.     Cases    under    Massachusetts             law    indicate     that

excessive contractual fees can, at least in some circumstances,

give rise to liability under Chapter 93A. See De Giovanni v.

Jani-King       Int'l,     Inc.,     262   F.R.D.        71,    84    (D.     Mass.     2009)

(determining, in a decision to certify a class action, that "a

fact-finder      can     determine       for    all    class    members       whether    the

amount     or    types     of     fees     charged       by    [the        defendant]     are

inherently unfair under Chapter 93A"); Karasavas v. Gargano, 31

Mass. L. Rptr. 624 (Super. Ct. 2014) (excessive fees charged by

an attorney violated Chapter 93A); Fredette v. Allied Van Lines,

Inc., 66 F.3d 369, 376 (1st Cir. 1995) (successive fees imposed

in   addition      to     an     apparently         all-inclusive      price     could    be

actionable under Chapter 93A).

       Depianti's contract obligates him to pay "a monthly royalty

equal to eight percent (8%) of the month gross revenues for the

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preceding month," as well as "a monthly management fee of five

[percent]        (5%)     of     [his]    'gross'       monthly      billings          for    the

preceding        month."       BME-Depianti      Contract      ¶7(D),(E).          Additional

fees become due if Depianti purchases additional business on top

of the accounts guaranteed to him by the original contract, if

he     performs     non-recurring          cleaning       assignments,            or     if    he

requests     BME's        help     in    negotiating      a    new    contract          with    a

prospective customer. Id. ¶7(B), (E), (F).

        Depianti testified at deposition that the deductions taken

by BME were higher than he expected them to be. See Depianti

Dep.    at   54-56.       Other     than    that       testimony,         there    is    little

evidence in the record to indicate whether the fees charged by

BME were fair or unfair. Ordinarily, the dearth of such evidence

could    present        grounds     for    summary      judgment      against          Depianti,

because      a    defendant        may     establish       entitlement            to    summary

judgment     "by     'showing'          . . .    that    there       is    an     absence       of

evidence to support the nonmoving party's case." Celotex, 477

U.S. at 325. However, JPI has not, in its detailed submissions,

argued    that     the     terms    of    Depianti's      contract         were    fair,       and

plaintiffs        have,     accordingly,         not    been    put       on    notice        that

evidence concerning the unfairness of the contract must now be

presented.        The     court     is,     therefore,         finding,         for     present

purposes, that the existing evidence would permit a reasonable

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fact finder to conclude that Depianti's contract was unfair to a

degree sufficient to generate liability under Chapter 93A. Cf.

De Giovanni, 262 F.R.D. at 84. 13

     Once again, JPI may only be held liable for any unfairness

that inhered in Depianti's contract if JPI controls, or has a

right to control, this "instrumentality" of BME's business. The

testimony    of   Kissane    and    of    Jeff       Bradley   described       earlier

indicates that BME is largely independent of JPI in its business

decisions, including decisions related to contracting with new

unit franchisees. See Kissane Dep. at 47-54; Bradley Aff. ¶¶7-8.

In addition, Bradley testified that BME "can and do[es] make

changes to the franchisee agreement," and that it does not need

JPI's     approval     to    do    so.     See       Bradley       Dep.   at   62-63.

Consequently,     it   is,   questionable            whether   a    reasonable   fact

finder    could      determine     that        JPI    actually      controlled    the

contracts that BME offered to its prospective unit franchisees.

     However, a reasonable fact finder could find that JPI has

the right to control these contracts. JPI's contract with BME

provides that:



     13
          The court reaches this conclusion independently of the
report of Steven Cumbow submitted by plaintiffs, see Pls.'
Statement of Facts Opp'n to JPI's Mot. Summ. J. Ex. 14, which
JPI has moved to strike.


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      All franchise agreements utilized by [BME] shall be
      the unit franchise agreement currently used by [JPI]
      o[r] the agreements which are prepared by [BME] and
      approved by [JPI].
      In the event that [BME] desires to change, modify,
      adjust or amend the terms of the franchise agreement
      . . . [BME] shall submit said requested changes in
      writing to [JPI] no less than thirty (30) days prior
      to the date said change, modification, adjustment or
      amendment shall be implemented. [JPI] reserves the
      right to deny the change, modification, adjustment or
      amendment and may recommend additional changes or
      modifications. No such change shall materially affect
      the terms and condition of this Agreement.

JPI-BME   Contract     ¶¶14.1-14.2.        Because   BME    is   prohibited,    by

contract, from making any "material" changes to JPI's standard

unit franchisee contract, and because JPI is permitted to deny

any   changes   proposed      by   BME,   a    reasonable   fact   finder    could

conclude -- indeed, would be required to conclude -- that JPI

has the right to control the contracts that BME offers to its

franchisees.

       In summary, based on the evidence in the summary judgment

record, a reasonable fact finder could conclude that Depianti

has   been   subject     to     unfair     "underbidding"        and   to   unfair

terminations of his cleaning accounts, but could not conclude

that JPI controls, or has the right to control, the pertinent

instrumentalities of BME's business. In addition, a reasonable a

reasonable fact finder could conclude that Depianti's contract

with BME was inherently unfair, and also that JPI has the right

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to control the instrumentality of BME's business concerning its

contracts   with   its   unit   franchisees.        For    these       reasons,   the

court is denying JPI's motion for summary judgment -- subject to

a qualification discussed below -- with regard to the part of

Count IV alleging that the terms of Depianti's contract with BME

were inherently unfair, and allowing this motion with regard to

all other parts of Count IV.

     E.     The Statute of Limitations

     In addition to its arguments on the merits of Depianti's

claims in Counts I and IV, JPI contends that these claims are

barred by the applicable statutes of limitations. These statutes

establish a three-year limitations period for actions in tort

and a four-year limitations period for actions under Chapter

93A. See Mem. Supp. JPI's Mot. Summ J. at 13 (citing Mass. Gen.

Laws ch. 260, §§2A, 5A); JPI's Sept. 24, 2013 Suppl. Submission

at 11. As explained earlier, the one allegation among those made

in Counts I and IV that is surviving summary judgment is the

allegation,   under   Chapter      93A,    that   the     terms    of    Depianti's

contract were inherently unfair.

     The    instant   suit   was    filed    on     April    18,       2008.   JPI's

argument    that   Depianti's      Chapter    93A    claim        is    time-barred

assumes that the period of limitations began running on June 12,

2003, the date on which Depianti signed his contract with BME.

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See     Mem.    Supp.     JPI's     Mot.    Summ      J.    at     13.     However,    "in

Massachusetts a [Chapter 93A] cause of action accrues when the

plaintiff learns or reasonably should have learned that it has

been harmed as a result of defendant's conduct." Hays v. Mobil

Oil Corp., 736 F. Supp. 387, 396 (D. Mass. 1990) (citing Olsen

v. Bell Telephone Laboratories, Inc., 445 N.E.2d 609, 611-12

(Mass. 1983)).

        It is possible that some or all of the harms that Depianti

allegedly        suffered       were      discovered,        or     were      reasonably

discoverable, by April 18, 2004, and are, therefore, barred by

the     four-year       statute    of     limitations.       However,       because    JPI

focused its statute of limitations argument on the date on which

Depianti       signed    his    contract,     it   has     not     made    arguments    or

offered evidence concerning the time at which Depianti's harms

were    discovered        or    were     reasonably      discoverable.        Plaintiffs

have,    correspondingly,          not     addressed       any    such     arguments   or

evidence.

        The    question    of     when    Depianti's       harms    might     have    been

discovered       or      reasonably       discoverable       is      not     necessarily

straightforward in the circumstances of this case. As plaintiffs

assert to be true concerning many of JPI's unit franchisees,

English is not Depianti's first language. See Complaint ¶31;

Depianti Dep. at 54. Moreover, plaintiffs allege, and JPI has

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not    specifically       denied,    that    the       agreements    signed        by    unit

franchisees like Depianti are "written exclusively in English,

in    highly    technical      and   confusing         language,     with    misleading

section headings and provisions regarding waivers of important

rights buried within the agreement." Complaint ¶30.

       Against this backdrop, and making all reasonable inferences

in Depianti's favor, the court concludes that JPI has not shown

beyond genuine dispute that Depianti learned of the harms he

alleges, or       that    he   should   reasonably         have    learned        of    those

harms, by April 18, 2004. Therefore, the court does not now find

that    Depianti's       remaining    claim       is    time-barred.        The    instant

decision will not, however, prevent JPI from arguing at a later

date,    when    additional     evidence      has      been   presented,          that   the

statute of limitations does, indeed, apply.


VII. JPI'S MOTION FOR SUMMARY JUDGMENT: COUNTS V AND VI

       A.      Additional Background

       Counts V and VI of the Complaint seek recovery in quantum

meruit and unjust enrichment, respectively. Plaintiffs argue, in

essence, that "[b]y misclassifying [plaintiffs] as independent

contractors, and by improperly requiring them to pay [JPI's]

ordinary       business    expenses,        the    company     has    been        unjustly

enriched." Pls. Opp'n to JPI's Mot. for Summ. J. at 16-17. The

parties have not suggested that Counts V and VI are affected by
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the litigation in the Georgia courts or by the SJC's decision in

Depianti Answers.

      Quantum meruit and unjust enrichment are closely related

doctrines that involve "fine distinctions." Bisbano v. Strine

Printing Co., 737 F.3d 104, 108 n.2 (1st Cir. 2013). The parties

do not attempt to distinguish between these doctrines in their

submissions. JPI argues that these claims require plaintiffs to

show that they reasonably expected compensation from JPI, and

that plaintiffs, including Depianti, "admittedly had no dealings

with [JPI] and admittedly did not expect compensation from the

defendant."        See   Mem.    Supp.     JPI's       Mot.     Summ.    J.   at     3-5.

Plaintiffs     disagree,        arguing    that       quantum   meruit    and      unjust

enrichment permit a plaintiff to recover if "one person obtains

money that in equity and good conscience belongs to another,"

and   that    an    "'expectation     of    compensation'          rather     than    the

source of the compensation . . . must be shown." Pls.' Sur-Reply

in Opp'n to Def.'s Mot. Summ. J. at 13-14 (citing Friberg-Cooper

Water Supply Corp. v. Elledge, 197 S.W.3d 826 (Tex. App. 2006);

Starkey, Kelly, Blaney & White v. Estate of Nicolaysen, 796 A.2d

238 (N.J. 2002)).

      B.     Quantum Meruit

      The    term    "quantum     meruit"       has   at   least   two   meanings      in

cases under Massachusetts law. In one sense, quantum meruit is

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"not a cause of action," J.A. Sullivan Corp. v. Commonwealth,

494   N.E.2d    374,   377   (Mass.   1986),   but    rather   a     "measure   of

damages" based on "[t]he reasonable value of services provided."

Incase Inc. v. Timex Corp., 488 F.3d 46, 54 (1st Cir. 2007);

Black's   Law    Dictionary    1276   (8th    ed.    2004).   This    measure   of

damages may be properly awarded where, for example, a plaintiff

has "in good faith substantially perform[ed] a contract" but

cannot recover on a contractual claim. See J.A. Sullivan, 494

N.E.2d at 378; Newfield House, Inc., v. Mass. Dept. of Pub.

Welfare, 651 F.2d 32, 38 (1st Cir. 1981). In this sense of the

term, quantum meruit cannot itself provide a basis for recovery

by Depianti or by any other plaintiff. See De Giovanni, 262

F.R.D. at 84.

      However, the term quantum meruit is also used to denote a

specific basis for recovery:

      In Massachusetts, the elements of a quantum meruit
      recovery are: (1) the plaintiff conferred a reasonable
      benefit upon the defendants; (2) defendants accepted
      the services with the reasonable expectation of
      compensating the plaintiff; and (3) the plaintiff
      provided the services with the reasonable expectation
      of receiving compensation.

Backman v. Smirnov, 751 F. Supp. 2d 304, 314 (D. Mass. 2010)

(citing Bolen v. Paragon Plastics, Inc., 747 F. Supp. 103, 106-

07 (D. Mass. 1990)); Smilow v. Sw. Bell Mobile Systems, Inc.,

323   F.3d     32,   38-39   (1st   Cir.    2003);    Rosano-Davis,     Inc.    v.
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Sastre, 840 N.E.2d 66, at *2 (Mass. Ct. App. 2005) (table).

Under this theory of recovery, the "reasonable benefit" bestowed

by the plaintiff must be "measurable." Bolen, 747 F. Supp. at

106; Comm. Aluminum Corp. v. Baldwin Corp., 980 F. Supp. 598,

607 (D. Mass. 1997). The plaintiff is not required to show that

"the        defendant          subjectively . . . expected                    to        pay      the

plaintiff,"          but     rather    that     "a        reasonable      person         in     [the

defendant's]          position       would     have       expected      to     pay       for    the

services accepted." Mass Cash Register, 901 F. Supp. at 421;

Bolen, 747 F. Supp. at 107.

       It    is      questionable          whether    the    summary      judgment            record

would    permit        a    reasonable       fact    finder      to    find    that       Depianti

conferred        a    measurable      benefit        on   JPI,    or    that       a    reasonable

person      in       JPI's    position       would        have   expected          to    pay     for

Depianti's services. See Bolen, 747 F. Supp. at 106-07; Comm.

Aluminum Corp., 980 F. Supp. at 607; Mass Cash Register, 901 F.

Supp.       at       421.     More     significantly,             however,             plaintiffs'

admissions establish that the third element of a quantum meruit

action is not satisfied in this case.

       Plaintiffs           agree,    in    their     papers,     that    "[n]one          of    the

Plaintiffs ever had contact with or have spoken with anyone at

JPI," and that Depianti himself "had no knowledge JPI existed

when [he] purchased [his] franchise[]." Pls.' Statement of Facts

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Opp'n to JPI's Mot. Summ. J. at 20 (Def.'s Statement of Facts

Supp.    Mot.      Summ.    J.     ¶¶36-38      are   "not    disputed").         Crucially,

plaintiffs         concede       that      the       unit    franchisees,          including

Depianti, "do not expect compensation from JPI." Id. at 24 (same

for Def.'s Statement of Facts Supp. Mot. Summ. J. ¶165); Pls.'

Sur-Reply in Opp'n to Def.'s Mot. Summ. J. at 14 (plaintiffs

"did    not    expect      compensation         specifically       from    the     corporate

entity       named     Jan-Pro       Franchising            International").         Because

Depianti's         quantum       meruit      claim     can     succeed      only     if   he

reasonably expected to be compensated by JPI for his services,

see Backman, 751 F. Supp. 2d at 314; Bolen, 747 F. Supp. at 107,

and     because       Depianti       admittedly         did     not       have     such   an

expectation, JPI is entitled to summary judgment on Count V.

       JPI    is    also    entitled       to    summary      judgment     on     Depianti's

quantum       meruit       claim     for     another,        related      reason.      Under

Massachusetts law, recovery in quantum meruit "is denied if the

plaintiff conferred a benefit expecting compensation from one

person, but then seeks restitution from a second person." Bolen,

747 F. Supp. at 107 (citing La Chance v. Rigoli, 91 N.E.2d 204,

205     (Mass.       1950)).       Depianti,         like    the    other        plaintiffs,

performed his services pursuant to a contract that was not with

JPI, but rather with his regional master franchisee, BME. The

contract that Depianti signed with BME provided that BME would

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invoice    the    customers'         accounts,         would    collect      payment      from

them,    and    would   pay     Depianti      the      amount    owed      him.    See    BME-

Depianti Contract ¶3(B)(3). Depianti must, therefore, "look for

payment to the one to whom credit was extended when the work was

done." La Chance, 91 N.E.2d at 205. He "is not entitled to

restitution from [JPI] merely because of the [alleged] failure

of performance by [BME]." Bolen, 747 F. Supp. at 107 (quoting

Restatement       (Second)      of    Restitution           §110).    In     essence,         the

quantum meruit cause of action is inappropriate because, when

Depianti provided his services, he expected to be compensated

for them by BME.

     C.        Unjust Enrichment

     As noted earlier, unjust enrichment is closely related to

quantum    meruit.      More     specifically,              "[q]uantum      meruit       is     a

species   of     unjust    enrichment."           Bisbano,      737   F.3d    at    108       n.2

(citing ConFold Pac., Inc. v. Polaris Indus., Inc., 433 F.3d

952, 957–58 (7th Cir. 2006)). The elements of the more general

action    of      unjust      enrichment          "[i]n        Massachusetts . . . are

'unjust   enrichment       of    one    party         and   unjust    detriment      to       the

other     party.'"         Mass.       Eye        &     Ear      Infirmary         v.         QLT

Phototherapeutics, Inc., 412 F.3d 215, 234 n.7 (1st Cir. 2005)

(quoting Bushkin Assocs., Inc. v. Raytheon Co., 906 F.2d 11, 15

(1st Cir. 1990)).

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     Under this more general cause of action, Depianti is not

required   to   have       had     a     reasonable    expectation       he    would     be

compensated by JPI for his services. The argument presented by

JPI for summary judgment on Count VI is, therefore, not correct.

     Plaintiffs' unjust enrichment claim is based on the same

conduct      that          underlies         their         claims      of          employee

misclassification and of unfair or deceptive business practices

under Chapter 93A. See Pls. Opp'n to JPI's Mot. for Summ. J. at

17. As explained earlier, one part of Depianti's Chapter 93A

claim is surviving summary judgment -- his allegation that the

terms of his contract with BME are inherently unfair. To the

extent that Depianti's unjust enrichment claim arises from this

allegation, Depianti will not be permitted to recover for unjust

enrichment, because "[w]here plaintiff has an adequate remedy at

law, equity will not consider a claim for unjust enrichment."

Taylor Woodrow Blitman Const. Corp. v. Southfield Gardens Co.,

534 F. Supp. 340, 347 (D. Mass. 1982); Santagate v. Tower, 833

N.E.2d 171, 176 (Mass. App. Ct. 2005).

     However,        JPI    has     not    argued     that    a    remedy     in    unjust

enrichment      is     unavailable           to      Depianti       because        of   the

availability    of     an    adequate        legal    remedy.       Consequently,       the

parties'     submissions          have     not    clarified       whether     Depianti's

unjust    enrichment        claim      is,   in    fact,     coterminous       with     the

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surviving        element   of   his   Chapter   93A    claim.   In    addition,

"[b]ecause        procedural    law    allows    alternative        contentions,

parties to a civil action involving . . . an array of factual

and legal theories . . . may be allowed to defer choice at least

until     late    stages   of   proceedings     in    the   trial    court.   For

example, both plaintiffs and defendants in a civil case may be

allowed to maintain alternative contentions at least until the

evidence is closed." Aetna Cas. Sur. Co. v. P & B Autobody, 43

F.3d 1546, 1555 (1st Cir. 1994); Rodriguez–Suris v. Montesinos,

123 F.3d 10, 20 (1st Cir. 1997); see also Lass v. Bank of Am.,

N.A., 695 F.3d 129, 140 (1st Cir. 2012) (upholding the practice

of pursuing, at least at the pleading stage, both legal and

overlapping equitable claims). 14

     For these reasons, while Depianti will not ultimately be

permitted to recover on both legal and equitable claims arising


     14
          Other decisions are split as to whether unjust
enrichment claims should be dismissed because of corresponding
claims at law. Compare Vieira v. First Am. Title Ins. Co., 668
F. Supp. 2d 282, 295 (D. Mass. 2009) (allowing the equitable
claim to proceed), In re Celexa & Lexapro Mktg. & Sales
Practices Litig., 751 F. Supp. 2d 277, 297 (D. Mass. 2010)
(same), and Smith v. Jenkins, 626 F. Supp. 2d 155, 170-71 (D.
Mass. 2009) (same), rev'd on other grounds, 732 F.3d 51 (1st
Cir. 2013), with Ruggers, Inc. v. United States, 736 F. Supp. 2d
336, 342 (D. Mass. 2010) (dismissing the equitable claim),
Watkins v. Omni Life Sci., Inc., 692 F. Supp. 2d 170, 179 (D.
Mass. 2010) (same), and Reed v. Zipcar, Inc., 883 F. Supp. 2d
329, 334 (D. Mass. 2012) (same), aff'd, 527 F. App'x 20 (1st
Cir. 2013).
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from    the    same     facts,     the    court     is    not     now     finding     that

Depianti's unjust enrichment claim is barred by the availability

of an adequate remedy at law. The question of which remedy or

remedies      may     ultimately    be    available         to    Depianti     will    be

determined at a later date. Cf. Backman, 751 F. Supp. 2d at 314-

15 (deferring until after trial decision on an argument that

Chapter 93A claims are derivative of common law claims).


VIII. ORDER

       In view of the foregoing, it is hereby ORDERED that:

       1.     Plaintiffs' Motion to Amend Complaint (Docket No. 145)

is DENIED.

       2.     JPI's Motion to File Supplemental Answer/Affirmative

Defenses Identifying Claim Preclusion (Res Judicata) and Issue

Preclusion (Collateral Estoppel) as Additional Defenses (Docket

No.    165)    is     ALLOWED.      JPI's        Proposed      Amended     Answer      and

Affirmative Defenses (Docket No. 165-1) shall be deemed to be

the operative answer to the Complaint.

       3.     Plaintiffs'        Motion     for     Partial        Summary     Judgment

(Docket No. 68) is DENIED.

       4.     JPI's    Motion     for    Summary     Judgment       (Docket    No.     65)

("JPI's     Motion")     is   ALLOWED     in     part    and     DENIED   is   part,    as

follows:


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          a)    JPI's Motion is ALLOWED as to Counts I, II, III,

and V.

          b)    JPI's Motion is DENIED as to the element of Count

IV alleging that the terms of Depianti's contract with BME were

inherently unfair, without prejudice to consideration at a later

date of an argument that this claim is barred by the applicable

statute of limitations.

          c)    JPI's Motion is ALLOWED as to all other element

of Count IV.

          d)    JPI's Motion is DENIED as to Count VI, without

prejudice to consideration at a later date of an argument that

no relief may be granted to Depianti under this equitable count

because an adequate remedy is available to him at law.

     5.   On   January   13,   2010,    JPI    filed   a   Motion   to   Strike

Steven Cumbow's Supposed Expert Report from the Summary Judgment

Record (Docket No. 81). To the extent that this motion has not

yet been decided, it is MOOT, because the court has not found

Mr. Cumbow's report to be material to the instant decision.



                                                    /s/ Mark L. Wolf
                                              UNITED STATES DISTRICT JUDGE




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